                             UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLORADO

Civil Action No. 19-CV-00161-REB

KYLE W. LEONARD

Plaintiff,

vs.

DOUGLAS E. LUCAS, D.O.

Defendant.
______________________________________________________________________________

 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
 EVIDENCE OR TESTIMONY REGARDING STANDARD OF CARE FOR LACK OF
                              DOCUMENTATION
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        Plaintiff, Kyle Leonard, through his attorney hereby responds to DEFENDANT’S

MOTION IN LIMINE TO EXCLUDE EVIDENCE OR TESTIMONY REGARDING

STANDARD OF CARE FOR LACK OF DOCUMENTATION as follows:

During an operation on the Plaintiff’s leg the Defendant mistakenly and accidentally lacerated

the Plaintiff’s leg in an unintended location. This unintended laceration occurred in an area that

was already at risk. That laceration became the subject of this lawsuit.

        Defendant did not tell the Plaintiff that he accidentally lacerated the leg until at least 3

months after the fact, and that was when the Plaintiff asked. Defendant testified that he might

not have told the Plaintiff until as late as when transfer was being discussed, which was in

November, 10 months later. Exhibit 1, Deposition Dr. Lucas pages 64-65.




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        Defendant also did not describe the accidental laceration in his original operative report.

That report stated.

        Tibial Osteotomy: A direct anterolateral incision was made. The anterior compartment
        muscles were identified and protected. Sub periosteal dissection was performed around
        the tibia at the predetermined level of the osteotomy. A drill was used to make a row of
        holes and this was followed by the osteotome producing an osteotomy of both the tibia
        and the fibula. The wound was then irrigated and closed with 0 vicryl, 3-0 vicryl and 3-0
        nylon. The frame struts were placed.


And under “Complications:” the Defendant listed “none.”

        Plaintiff’s expert, Dr. Robbins, stated in his report and in his deposition on page 37 that

documenting the laceration in the operative report would have been the standard of care. He

further testified on page 40 as to the reason it is the standard of care:

        “I think the important thing to note is if this skin, soft tissues that were already pre-
        surgically known to be compromised, at risk, not perfectly healthy enough to give you
        pause and then something like this happens at surgery, it would be worth noting.”
        Exhibit 2, Deposition Dr. Robbins, Pages 37-40.


        Some 10 months later, when the Defendant was transferring the care of the Plaintiff to

another physician in Denver, he amended his original operative report to include the occurrence

of unintended laceration.



That report read:

        Tibial Osteotomy: A direct anterolateral incision was made. The anterior compartment
        muscles were identified and protected. Sub periosteal dissection was performed around
        the tibia at the predetermined level of the osteotomy. A drill was used to make a row of
        holes and this was followed by the osteotome producing an osteotomy of both the tibia
        and the fibula.

        During retraction of the tibia to access the fibula a laceration of the anteromedial skin
        occurred. A sharp edge of the tibia created a full thickness would approximately 2cm in
        length in the skin. This was treated with simple closure. The wound was then irrigated
        and closed with 0 vicryl, 3-0 vicryl and 3-0 nylon. The frame struts were placed.



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And under “Complications:” the Defendant listed “Anteromedial tibial laceration.”

        Thus, the Defendant did not list the complication, nor describe it in the original operative

report, nor tell the Plaintiff about it for at least three, and possibly ten, months.

        F.R.E. 404(b) allows the admissibility of “other acts” for the purpose of proving

knowledge. Knowledge that Dr. Lucas had committed a negligent act would be relevant. While

the failure to document the laceration for up to 10 months did not have any effect on the final

outcome of the Plaintiff’s leg, the attempt to cover it up is an act which shows tacit admission

and knowledge that the laceration could be the result of negligence.

        Failure to document the laceration for 10 months and failure to inform the Plaintiff for up

to ten months also goes to the credibility of the Defendant. Credibility of the Defendant is

always an issue.

        Defendant has the ability to explain why he failed to document what he now admits is a

complication and why he did not explain the complication to the Plaintiff until up to ten months

later. Thus, the objection goes to the weight of the evidence, not its admissibility.

        For the above noted reasons, Plaintiff respectfully requests that this Court deny

Defendant’s Motion.

        DATED: August 2, 2022

                                                        Respectfully submitted,

                                                        s/ Phil C. Pearson_________________
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                               CERTIFICATE OF SERVICE

  The undersigned does hereby certify that on this 2nd day of August, 2022, a true and correct
copy of the foregoing PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION IN
LIMINE TO EXCLUDE EVIDENCE OR TESTIMONY REGARDING STANDARD OF
CARE FOR LACK OF DOCUMENTATION was sent to the following ECF.

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                                                    s/ Juanita Spears




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